  Case 7:19-cv-00325-JPJ Document 11 Filed 08/12/19 Page 1 of 1 Pageid#: 58
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                                                                                           S.DIST.COURT
                                                                                 AT RG NOKE,VA
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                   IN THE UNITED STATESDISTRICT COURT                            Ats 12 2210
                   FO R TH E W E STERN D ISTRICT O F W R GIN IA
                                                                 JUL DUDLEY LERK
                               RO AN O IG D IW SION             ZY; J
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UN IT ED STATE S O F AM E RICA,

      Plaintiff,

V.                                                CivilAction N o.:7:19-CV-325

BRESEE T RU CM N G CO M PAN Y,IN C.,
                                                )By: M ichaelF.Urbansld
      D efendant.                               )ChiefUnited StatesDisttictJudge
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      Plainéffthe United StatesofAm erica and defendantBresee Trucldng Company,lnc.

flledajointmoéontottansfezdivisions.ECFNo.10.Uponconsiderationofthemoéon,and
fincling a tzansfer proper,itis O RD ERED thatthis case is transferred from thè Roanoke

D ivision ofthe W estern D istrictofVirginia to the Big Stone Gap D ivision ofthe W estern

DistrktofVitginia.Itisalso ORDERRD thatthiscaseisreassigned tothedocketofUnited
StatesDisttictludgelamesJonesforallfurtheraction and proceedings.
       ItisSO O RD ERE D .

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